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                                                                                                                                                   CLERK U.S. BANKRUPTCY COURT
                                                                                                                                                   Central District of California
                                                                       6   Attorneys for Plaintiff David K. Gottlieb,                              BY Gonzalez DEPUTY CLERK
                                                                           Chapter 11 Trustee of the Estates of Solyman
                                                                       7   Yashouafar and Massoud Aaron Yashouafar
                                                                                                                                           CHANGES MADE BY COURT
                                                                       8                                 UNITED STATES BANKRUPTCY COURT
                                                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                       9                                   SAN FERNANDO VALLEY DIVISION
                                                                      10

                                                                      11   In re:                                              Case No.: 1:16-bk-12255-GM
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                                                                      12   SOLYMAN YASHOUAFAR and                              Chapter 11
                                                                           MASSOUD AARON YASHOUAFAR,1                          Jointly Administered
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13                     Debtors.
                                            ATTOR NE YS A T L AW




                                                                      14   In re:                                              Case No.: 1:16-bk-12255-GM
                                                                           SOLYMAN YASHOUAFAR,                                 Chapter 11
                                                                      15                     Debtor.
                                                                      16
                                                                           In re:                                              Case No.: 1:16-bk-12408-GM
                                                                      17   MASSOUD AARON YASHOUAFAR,                           Chapter 11
                                                                                             Debtor.
                                                                      18
                                                                           Affects:
                                                                      19    Both Debtors
                                                                            Solyman Yashouafar
                                                                      20    Massoud Aaron Yashouafar

                                                                      21   DAVID K. GOTTLIEB, as Chapter 11                    Adversary No.: 1:17-ap-01050-GM
                                                                           Trustee for Massoud Aaron Yashouafar and
                                                                      22   Solyman Yashouafar,                                 AMENDED ORDER DIRECTING PAYMENT
                                                                                                                               PURSUANT TO SUMMARY JUDGMENT
                                                                      23                                   Plaintiff,          ORDER AND PROVIDING FOR DISMISSAL OF
                                                                                                                               ACTION WITH PREJUDICE
                                                                      24   v.

                                                                      25   PARINAZ YASHOUAFAR, trustee for the
                                                                           JCBL Trust U/D/T 1/11/00,
                                                                      26
                                                                                                           Defendant.
                                                                      27
                                                                            1
                                                                             The Debtors, together with the last four digits of each Debtor’s social security number are: Solyman
                                                                      28    Yashouafar (5875) and Massoud Aaron Yashouafar (6590).

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                                                                       1             Upon the Court having issued its Memorandum of Opinion [Docket No. 41] and its Order

                                                                       2   (the “Summary Judgment Order”) [Docket No. 42] on the Motion of David K. Gottlieb, Chapter 11

                                                                       3   Trustee, for Summary Judgment on All Claims for Relief Against Defendant [Docket No. 24] (the

                                                                       4   “Motion”), filed by Plaintiff David K. Gottlieb, as Chapter 11 Trustee (“Plaintiff” or the “Trustee”)

                                                                       5   for Massoud Yashouafar (”Massoud” or the “Debtor”) and Solyman Yashouafar (“Solyman” and

                                                                       6   together with Massoud, the “Debtors”) filed in the above-captioned adversary proceeding (the

                                                                       7   “Action”), and based upon the record in the Action, and good cause appearing for the relief set forth

                                                                       8   herein,

                                                                       9             IT IS HEREBY ORDERED that

                                                                      10             1.     Consistent with and to implement the Summary Judgment Order, Defendant, as

                                                                      11                    trustee for the JCBL Trust U/D/T 1/11/00 (the “JCBL Trust”), is ordered to cause the
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                                                                      12                    JCBL Trust to directly remit to Plaintiff payment in cash in the amount of
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13                    $216,466.00 (the “Payment”) from funds in the Designated Account, as that term is
                                            ATTOR NE YS A T L AW




                                                                      14                    defined in the Stipulation by and Between: Trustee; Debtors; JCBL Trust; S&R

                                                                      15                    Equities, LP; and Madison Equities, LP Regarding Disposition of Net Proceeds From

                                                                      16                    Sale of Property Commonly Known As Sky Las Vegas [Docket No. 200] (the

                                                                      17                    “Stipulation”) and Order [Docket No. 243] approving the Stipulation, which

                                                                      18                    represents the community property interest in the JCBL Trust (net of certain liabilities

                                                                      19                    and costs), within three (3) business days after entry of this Amended Order.

                                                                      20             2.     The remaining assets of the JCBL Trust are not a property of the bankruptcy estate,

                                                                      21                    nor are the remaining assets in the JCBL Trust the subject of an avoidable transfer.

                                                                      22                    Accordingly, the remaining proceeds in the Designated Account are to be remitted to

                                                                      23                    Parinaz Yashouafar.

                                                                      24             3.     Pursuant to the Stipulation [Docket No. 200] and Order [Docket No. 243], Pacific

                                                                      25                    Western Bank (“PWB”) was directed to block access to the Designated Account

                                                                      26                    holding the proceeds from the sale of the property commonly known as Sky Las

                                                                      27                    Vegas. PWB is authorized and directed to provide access to such blocked account so

                                                                      28                    that PWB and JCBL Trust can carry out the terms of this Amended Order.


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                                                                       1           4.       Upon and after the Trustee’s receipt of the Payment, (i) Trustee’s counsel shall file

                                                                       2                    with the Court a declaration that such Payment was received (the “Counsel

                                                                       3                    Declaration”), and (ii) Plaintiff, Defendant and the JCBL Trust shall be deemed to

                                                                       4                    have waived any and all rights to appeal the Summary Judgment Order, this Amended

                                                                       5                    Order, or any other order, ruling, judgment or decree in the Action.

                                                                       6           5.       Upon the filing of the Counsel Declaration, the Action shall be dismissed WITH

                                                                       7                    PREJUDICE without any further action by Plaintiff or Defendant.

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                                                                             Date: June 25, 2018
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